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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:

PATSY J. PIERSON,                                             Case No.: 14-05033
                                                              Chapter 13 - Filed: 07/29/2014
      Debtor.                                                 Converted Ch. 7 - 10/06/2014
________________________/ /

              ORDER GRANTING MOTION TO APPROVE SETTLEMENT

                       PRESENT: HONORABLE SCOTT W. DALES
                             United States Bankruptcy Judge

       THIS MATTER having come to be heard upon the Trustee’s Motion to Approve

Settlement (“Motion”); and the Court being otherwise fully advised in the premises;

       IT IS THEREFORE ORDERED THAT:

       1.      The Motion is granted.

       2.      The Trustee is authorized to enter into the settlement (as delineated in the Motion)

as an appropriate exercise of his reasonable business judgment.

       3.      The Trustee is authorized to execute such documents (including a full release) as

may be necessary to effectuate the settlement.

       4.      The Settlement Fund Trustee is authorized to withhold and/or pay the fees, costs

and expenses set forth in the Motion, and thereafter and upon the terms of the settlement being

satisfied, authorizing the Settlement Fund Trustee to pay the remaining proceeds to special counsel

for the Trustee, authorizing special counsel for the Trustee to deduct settlement administrative fees

and attorney fees and costs and then remit the net proceeds to the Trustee.

       5.      The Trustee is authorized to distribute settlement funds owed to the Debtor and

properly claimed exempt by her to be distributed to the Debtor.
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         6.     The Trustee is authorized to distribute the hold back, when and if received,

 consistent with the previously approved settlement agreement between the Debtor and the estate.


 This Document Prepared By:
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                                       END OF ORDER




IT IS SO ORDERED.
Dated August 13, 2019
